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 4
 5   Attorney for Defendant, JACK SENG HER
 6
 7
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,)                      CASE NO. CR-F-05-00314 AWI
11                                 )
                 Plaintiff,        )
12                                 )                 STIPULATION AND ORDER FOR A
     vs.                           )                 RESETTING OF SENTENCING
13                                 )                 HEARING
     JACK SENG HER,                )
14                                 )                 DATE: September 5, 2006
                 Defendants.       )                 TIME: 9:00 a.m.
15   ______________________________)                 Judge: Honorable Anthony W. Ishii
16
             IT IS HEREBY STIPULATED by and between the parties that the
17
     sentencing hearing for Defendants, JACK SENG HER and CHAI VANG,
18
     currently set for September 5, 2006, be continued to October 2,
19
     2006, at 9:00 a.m.
20
             Defense Formal Objections shall be due on September 13, 2006
21
     and Government’s reply to be due by September 29, 2006.
22
23   DATED: August 29, 2006 /s/ Eric K. Fogderude
                                    ERIC K. FOGDERUDE
24                                  Attorney for Defendant, JACK SENG HER
25
     DATED: August 29, 2006 /s/ Melody Walcott
26                                 MELODY WALCOTT, Attorney for CHAI VANG
27
     DATED: August 29, 2006 /s/ David Gappa
28                                 DAVID GAPPA, Assistant U.S. Attorney


     U.S. vs. Her, et al.                                  Stipulation and Order for a resetting of
     Case No. CR-F- 05-00314                                Hearing Of Sentencing
         Case 1:05-cr-00314-AWI Document 64 Filed 09/07/06 Page 2 of 2


 1
 2                                            ORDER
 3
             IT IS HEREBY ORDERED that the sentencing hearing on the above-entitled matter
 4
     be continued to October 2, 2006, at 9:00 a.m. before the Honorable Anthony W. Ishii. It is
 5
     further ordered that formal objections shall be due on September 13, 2006 and
 6
     Government’s reply shall be due on September 29, 2006.
 7
 8   IT IS SO ORDERED.
 9   Dated:     September 1, 2006                  /s/ Anthony W. Ishii
     0m8i78                                  UNITED STATES DISTRICT JUDGE
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     U.S. vs. Her, et al.                                  Stipulation and Order for a resetting of
     Case No. CR-F- 05-00314                      2         Hearing Of Sentencing
